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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

VS.                                     4:12-CR-00154-02-BRW

SHANNON MARIE ADAMS                                                                      DEFENDANT

                                        AMENDED ORDER

        Pending is Defendant’s Uncontested Motion for Psychiatric Evaluation and Any Necessary

Treatment (Doc. No. 38). Defendant’s motion is GRANTED, and IT IS THEREFORE ORDERED

THAT:

        1.       Pursuant to 18 U.S.C. § 4241(b), a psychiatric evaluation of Defendant
                 Adams be conducted.

        2.       Pursuant to 18 U.S.C. § 4242(a), a determination of Defendant Adams’
                 sanity at the time of the alleged offense be made.

        3.       All psychiatric or psychological reports must be filed with the Court
                 pursuant to 18 U.S.C. § 4247(c), and copies provided to counsel.

        4.       Pursuant to 18 U.S.C. § 4247(b), Defendant Adams is committed to the
                 custody of the Attorney General so that the psychiatric evaluation may
                 be conducted.

        5.       Pursuant to 18 U.S.C. § 3142(c)(x), Defendant Adams may be ordered to
                 receive any available medical, psychological, or psychiatric treatment
                 necessary to maintain her physical and mental health so that she will be
                 competent for Court proceedings.

        Based on 18 U.S.C. § 3161(h)(1)(A), any additional time needed for Defendant’s

exams is excludable under the Speedy Trial Act. The United States Marshals Service for the

Eastern District of Arkansas is directed to notify the Court immediately upon receipt of

Shannon Marie Adam’s facility designation.

        IT IS SO ORDERED this 20th day of September, 2012.

                                                               /s/BILLY ROY WILSON
                                                   UNITED STATES DISTRICT JUDGE

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